Case 9:25-mj-08061-RMM Document 1 Entered on FLSD Docket 02/04/2025 Page 1 of 8
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                        25-mj-8061-RMM
                               Case No. _______________________




UNITED STATES OF AMERICA
                                                                                        SP

v.
                                                                              Feb 4, 2025
GUIROOCHEE ST JEAN,

              Defendant.                                                                   West Palm Beach

__________________________________/

                                   CRIMINAL COVER SHEET

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                                                 Respectfully submitted,

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                                                        AD
                                               ASSISTANT
                                               AS   S ANT UNITED STATES ATTORNEY
                                                SSIIST
                                               Florida Bar No.    1026417
                                               500 South Australian Avenue, Suite 400
                                               West Palm Beach, Florida 33401
                                               7HO    (561) 209-1043
                                               )D[    (561) 805-9846
                                               (PDLO Katie.Sadlo@usdoj.gov
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  Southern District
                                                __________ Districtof
                                                                    ofFlorida
                                                                      __________

                  United States of America                        )
                             v.                                   )
                 GUIROOCHEE ST JEAN,                              )      Case No. 25-mj-8061-RMM
                                                                  )
                                                                                                                    SP
                                                                  )
                                                                  )
                           Defendant(s)                                                                  Feb 4, 2025

                                                   CRIMINAL COMPLAINT                                                  West Palm Beach


         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 February 3, 2025              in the county of            Palm Beach                    in the
     Southern          District of           Florida          , the defendant(s) violated:

            Code Section                                                    Offense Description
8 U.S.C. § 1326(a)                            Illegal Re-entry After Deportation or Removal.




         This criminal complaint is based on these facts:
See Attached Affidavit.




         ✔ Continued on the attached sheet.
         u
                                                                         JOSHUA J                         Digitally signed by JOSHUA J
                                                                                                          WOODBURY
                                                                         WOODBURY                         Date: 2025.02.03 19:54:14 -05'00'

                                                                                             Complainant’s signature

                                                                                    SA JOSHUA J. WOODBURY, HSI
                                                                                              Printed name and title
Sworn to and attested to me by applicant by
telephone (Facetime) per the requirements of
Fed. R. Crim. P.4 (d) and 4.1.

Date:
                                                                                                Judge’s signature

City and state:                      West Palm Beach, FL                         Ryon M. McCabe, U.S. Magistrate Judge
                                                                                              Printed name and title
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                     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Joshua Woodbury, first being duly sworn, do hereby depose and state as follows:

         1.      I am a Special Agent with the United States Department of Homeland Security,

  Homeland Security Investigations (“HSI”) and have been so employed since June 2008. Prior to

  my employment with HSI, I worked as a United States Customs Inspector for six and a half years.

  As part of my duties and responsibilities as an HSI Special Agent, I have become familiar with the

  criminal offenses set forth in Title 8, 18, 19, and 21 of the United States Code, as well as the

  Immigration and Nationality Act. Moreover, I have conducted investigations involving human

  smuggling, drug smuggling and their related criminal activity and have become familiar with the

  methods and schemes employed by individuals who smuggle persons, merchandise and narcotics

  into the United States.

         2.      The facts set forth in this affidavit are based on my personal knowledge,

  information obtained from others, including other law enforcement officers, and my review of

  documents, pictures, and computer records. Because this affidavit is being submitted for the

  limited purpose of establishing probable cause to support a criminal Complaint, I have not included

  each and every fact known to me and law enforcement, rather, I have included only those facts

  necessary to establish probable cause to believe that, on or about February 3, 2025, Guiroochee

  ST JEAN, an alien who has been previously removed from the United States, was found in the

  United States in violation of Title 8, United States Code, § 1326(a).

                                        PROBABLE CAUSE

         3.      On or about February 3, 2025, Homeland Security Investigations and U.S. Border

  Patrol were notified of a beached sailboat vessel, and possible landing, in Juno Beach, Florida
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  within Palm Beach County at approximately 01:00 a.m. Law enforcement’s initial response and

  search of the area did not result in any apprehensions or visible signs of smuggling at that time.

            4.     In the early morning hours of February 3, 2025, a Palm Beach County Sheriff’s

  Office (PBSO) Marine Unit Deputy was on patrol in the area near where the vessel was found and

  noticed a male subject walking on the sidewalk in the vicinity of A1A in Juno Beach, Florida.

  Being aware of the vessel found on the beach, the deputy started to follow the individual later

  identified as ST JEAN and noticed he appeared to be wet and his shoes and pants were covered in

  sand. The PBSO deputy stopped his vehicle near where ST JEAN was walking and ST JEAN

  approached the deputy. 1 When the deputy asked ST JEAN what was going on, ST JEAN

  responded, “I am from Haiti.” During the consensual encounter, ST JEAN told the deputy that he

  was coming to the United States to see his wife who currently resides here.

            5.     ST JEAN was subsequently detained by U.S. Border Patrol and taken to the U.S.

  Border Patrol Station located in Riviera Beach, Florida for processing.

            6.     After conducting law enforcement database checks, and under his own admission

  to processing agents, it was determined that the individual encountered by local law enforcement

  in Juno Beach, Florida, was Guiroochee ST JEAN, a citizen and national of Haiti.

            7.     According to immigration records, on or about November 24, 2023, ST JEAN was

  encountered attempting to illegally cross into the United States along the Rio Grande Valley in

  Brownsville, Texas. ST JEAN was subsequently taken to the Rio Grande Valley Sector Processing

  Center in McAllen Texas, where he was processed for expedited removal. Records further show

  that on or about December 19, 2023, ST JEAN was ordered removed. On or about January 18,




  1
      The deputy did not engage his lights or siren when he stopped his vehicle.
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  2024, ST JEAN was removed from the United States via air from Miami, Florida and returned to

  his native country of Haiti.

         8.      ST JEAN’s fingerprints taken in connection with his February 3, 2025, detention

  by U.S. Border Patrol agents were scanned into the IAFIS system. Results confirmed that the

  scanned fingerprints belong to the individual who was previously removed from the United States,

  that is Guiroochee ST JEAN.

          9.     A record check was performed in the Computer Linked Application Informational

  Management System to determine if ST JEAN filed an application for permission to reapply for

  admission into the United States after deportation or removal. After a search was performed in that

  database system, no record was found to exist indicating that ST JEAN obtained consent from the

  Attorney General of the United States or from the Secretary of Homeland Security, for re-

  admission into the United States as required by law.
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         10.     Based on the foregoing, I submit that probable cause exists to believe that, on or

  about February 3, 2025, Guiroochee ST JEAN, an alien who has previously been removed from

  the United States, was found in the United States without having received the express consent from

  the Attorney General or Secretary of the Department of Homeland Security for re-admission into

  the United States, in violation of Title 8, United States Code, Section 1326(a).


                                                 JOSHUA J            Digitally signed by JOSHUA J
                                                                     WOODBURY
                                                 WOODBURY            Date: 2025.02.03 19:55:24 -05'00'
                                                ________________________________________
                                                SPECIAL AGENT JOSHUA J. WOODBURY
                                                HOMELAND SECURITY INVESTIGATIONS



  Sworn and Attested to me by Applicant by Telephone (Facetime) pursuant to Fed. R. Crim. P. 4(d)
  and 4.1 this ______ day of February 2025.



                                                _____________________________________
                                                RYON M. McCABE
                                                UNITED STATES MAGISTRATE JUDGE
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                            25-mj-8061-RMM
                               CASE NUMBER: __________________________

                                         BOND RECOMMENDATION



DEFENDANT: GUIROOCHEE ST JEAN

                 Pre-Trial Detention
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:     ___
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Last Known Address:




What Facility:          Palm Beach County Jail




Agent(s):               SA JOSHUA J. WOODBURY, HSI
                        (FBI) (SECRET SERVICE) (DEA)             (IRS) (ICE) (27+(5
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

  Defendant's Name:       GUIROOCHEE ST JEAN

  Case No:        25-mj-8061-RMM

  Count #: 1

  Illegal Re-entry After Deportation or Removal

  8 U.S.C. § 1326(a)
  * Max. Term of Imprisonment: 2 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 1 year
  * Max. Fine: $250,000
  * Special Assessment: $100




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
